       CASE 0:18-cv-01776-JRT-JFD Doc. 1442 Filed 08/24/22 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



IN RE PORK ANTITRUST                             Case No. 18-cv-1776 (JRT/JFD)
LITIGATION
                                                 Honorable Judge R. Tunheim

This Document Relates to:
All Class Actions



                        DECLARATION OF
              LINDSEY STRANG ABERG IN SUPPORT OF
      DEFENDANTS’ OMNIBUS MEMORANDUM IN OPPOSITION TO
     ALL CLASS PLAINTIFFS’ MOTIONS FOR CLASS CERTIFICATION

      I, Lindsey Strang Aberg, declare and state:

      1.     I am an attorney with the law firm Axinn, Veltrop & Harkrider LLP, which

   represents Defendants Tyson Foods, Inc., Tyson Fresh Meats, Inc., and Tyson Prepared

   Foods, Inc. in this matter.

      2.     The exhibits cited in support of the Omnibus Memorandum in Opposition to

   All Class Plaintiffs’ Motions for Class Certification are set forth in the chart below.

   True and correct copies of these exhibits are attached hereto. All deposition transcripts

   referenced have been limited to the relevant portions cited in support of the Omnibus

   Opposition. As required by the Amended Protective Order (ECF No. 1155), any

   exhibits that have been designated as Confidential or Highly Confidential will be filed

   under seal and are denoted as such in the chart below.




                                           -1-
       CASE 0:18-cv-01776-JRT-JFD Doc. 1442 Filed 08/24/22 Page 2 of 4




Ex.                      Description                       Filed Under Seal
 1 Expert Report of Dr. Laila Haider                              X
 2 Expert Report of Dr. James Mintert                             X
    30(b)(6) & 30(b)(1) Dep. Tr. USDA (Shayle
 3
    Shagam), June 1, 2022
    30(b)(6) & 30(b)(1) Dep. Tr. USDA (Taylor Cox),
 4
    June 2, 2022
 5 30(b)(1) Dep. Tr. Dwight Mogler, July 22, 2022                 X
 6 30(b)(1) Dep. Tr. Ronald Freed, July 28, 2022                  X
    30(b)(1) Dep. Tr. Ronald Freed, July 28, 2022, Ex. 1
 7                                                                X
    (CLMNS-0000651270)
 8 30(b)(1) Dep. Tr. Dr. Steve Meyer, Apr. 26, 2022
 9 30(b)(1) Dep. Tr. Todd Neff, July 15, 2022                     X
    30(b)(1) Dep. Tr. Daniel Groff, Dec. 15, 2021, Ex. 9
10                                                                X
    (CLMNS-0000030358)
    30(b)(6) & 30(b)(1) Dep. USDA (Shayle Shagam),
11
    June 1, 2022, Ex. 7
    30(b)(6) & 30(b)(1) Dep. USDA (Shayle Shagam),
12
    June 1, 2022, Ex. 8
    Hearing to Review the Econ. Conditions in the Pork
13 Indus. Before the Subcomm. on Livestock, Dairy &
    Poultry, H. Comm. on Agric., 111th Cong. (2009).
14 30(b)(1) Dep. Tr. Seth Meyer, June 15, 2022
    Pork Checkoff, Quick Facts: The Pork Industry at a
    Glance, Pork Gateway (July 2015),
15
    https://porkgateway.org/wp-
    content/uploads/2015/07/quick-facts-book1.pdf.
    30(b)(1) Dep. Tr. Dr. Russell Mangum, III (DPP
16                                                                X
    Expert), July 13, 2022
17 30(b)(1) Dep. Tr. Noel White, May 13, 2022                     X
18 CLMNS-0000453599                                               X
19 30(b)(1) Dep. Tr. Corwyn Bollum, Dec. 1, 2021                  X
20 HFC-PORKAT0000253865                                           X
21 30(b)(1) Dep. Tr. Rick Hoffman, Apr. 26, 2022




                                         -2-
       CASE 0:18-cv-01776-JRT-JFD Doc. 1442 Filed 08/24/22 Page 3 of 4




Ex.                      Description                               Filed Under Seal
22 TF-P-0007792041                                                        X
23 30(b)(1) Dep. Tr. Rodney Brenneman, Aug. 4, 2022                       X
24 30(b)(1) Dep. Tr. Daniel Groff, Dec. 15, 2021
    30(b)(6) & 30(b)(1) Dep. USDA (Shayle Shagam),
25
    June 1, 2022, Ex. 2
    30(b)(6) & 30(b)(1) Dep. USDA (Shayle Shagam),
26
    June 1, 2022, Ex. 3
    Univ. Mo. Food & Agric. Pol’y Rsch. Inst., U.S.
27
    Baseline Briefing Book, Feb. 2007
    Univ. Mo. Food & Agric. Pol’y Rsch. Inst., U.S.
28
    Baseline Briefing Book, Mar. 2009
    30(b)(1) Dep. Tr. Dr. Dhamu Thamodaran, Mar. 23,
29
    2022
    30(b)(1) Dep. Tr. Dr. Michael Williams (CIIPP
30                                                                         X
    expert), June 21, 2022
    Written Testimony of Nat’l Pork Producers Council
31 on State of the U.S. Pork Indus., Subcomm. on
    Livestock, Rural Dev. & Credit, Apr. 30, 2014
32 30(b)(1) Dep. Tr. Mark Copa, Jan. 27, 2022
    30(b)(6) & 30(b)(1) Dep. USDA (Shayle Shagam),
33
    June 1, 2022, Ex. 21
34 30(b)(1) Dep. Seth Meyer, June 15, 2022, Ex. 8
    U.S. Meat Export Fed’n Staff, China’s pork imports
    record large in 2015, Nat’l Hog Farmer (Feb 15,
35 2016),
    https://www.nationalhogfarmer.com/marketing/china-
    s-pork-imports-record-large-2015
36 30(b)(1) Dep. Tr. Shane Miller, May 26, 2022                            X
37 30(b)(1) Dep. Tr. Deborah McConnell, June 23, 2022                      X
    30(b)(1) Dep. Tr. Dr. Hal Singer (Consumer IPP
38                                                                         X
    expert), June 24, 2022
39 30(b)(1) Dep. Tr. David Delaney, Apr. 20, 2022
40 30(b)(1) Dep. Tr. Robert Ruth, May 13, 2022

1
 Copy of pivot table from produced file provided as the native structured data file in
Microsoft Excel file is not able to be converted to PDF in a cognizable form. Counsel
will produce the native file upon request.


                                          -3-
        CASE 0:18-cv-01776-JRT-JFD Doc. 1442 Filed 08/24/22 Page 4 of 4




Ex.                      Description                              Filed Under Seal
41 SBF0821978                                                            X
42 TF-P-002610513                                                        X
43 30(b)(1) Dep. Tr. Kenneth Grannas Dec. 17, 2021                       X
44 30(b)(1) Dep. Tr. Mark Gingerich Apr. 14, 2022                        X
    30(b)(1) Dep. Tr. Dr. Michael Williams (CIIPP
45                                                                        X
    expert), June 21, 2022, Ex. 5
    Steve Meyer, Hog Cycle: Misery Loves Company,
    National Hog Farmer (Jan. 18, 2008),
46
    https://www.nationalhogfarmer.com/marketing/hog-
    cycle
47 TF-P-000066957                                                         X
48 TF-P-000633968                                                         X


       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



       Executed on this 24th day of August 2022 in Washington D.C.

                                                      /s/ Lindsey Strang Aberg
                                                      Lindsey Strang Aberg




                                          -4-
